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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                    :
 In re                                                              :    Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                                08-13555 (JMP)
                                                                    :
                                     Debtors.                       :    (Jointly Administered)
                                                                    :
                                                                    :
 -------------------------------------------------------------------x

                   ORDER PURSUANT TO SECTION 502(b)(9) OF THE
                BANKRUPTCY CODE AND BANKRUPTCY RULE 3003(c)(3)
                ESTABLISHING THE DEADLINE FOR FILING PROOFS OF
               CLAIM, APPROVING THE FORM AND MANNER OF NOTICE
               THEREOF AND APPROVING THE PROOF OF CLAIM FORM

                  Upon the motion, dated May 26, 2009 (the “Motion”),1 of Lehman Brothers

 Holdings Inc. and its affiliates, as debtors and debtors in possession in the above referenced

 chapter 11 cases (collectively, the “Debtors”),2 pursuant to sections 502(b)(9) of the Bankruptcy

 Code and Bankruptcy Rule 3003(c)(3) seeking an order (i) establishing the deadline for filing

 proofs of claim, (ii) approving the form and manner of notice thereof and (iii) approving the

 proof of claim form, all as more fully set forth in the Motion; and the Court having jurisdiction to

 consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and


 1
  Unless otherwise defined herein, capitalized terms used herein shall have the meanings ascribed thereto in the
 Motion.
 2
  Lehman Brothers Holdings Inc. (08-13555); LB 745 LLC (08-13600); PAMI Statler Arms LLC (08-13664);
 Lehman Brothers Commodity Services Inc. (08-13885); Lehman Brothers Special Financing Inc. (08-13888);
 Lehman Brothers OTC Derivatives Inc, (08-13893); Lehman Brothers Derivatives Products Inc. (08-13899);
 Lehman Commercial Paper Inc. (08-13900); Lehman Brothers Commercial Corporation (08-13901); Lehman
 Brothers Financial Products Inc. (08-13902); Lehman Scottish Finance L.P. (08-13904); CES Aviation LLC (08-
 13905); CES Aviation V LLC (08-13906); CES Aviation IX LLC (08-13907); East Dover Limited (08-13908);
 Luxembourg Residential Properties Loan Finance S.a.r.l. (09-10108); BNC Mortgage LLC (09-10137); Structured
 Asset Securities Corporation (09-10558); LB Rose Ranch LLC (09-10560); and LB Kalakaua Owners LLC (09-
 12516).
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 the Standing Order of Referral of Cases to Bankruptcy Court Judges of the District Court for the

 Southern District of New York, dated July 19, 1984 (Ward, Acting C.J.); and consideration of

 the Motion and the relief requested therein being a core proceeding pursuant to 28 U.S.C.

 § 157(b); and venue being proper before this Court pursuant to 28 U.S.C. § § 1408 and 1409; and

 due and proper notice of the Motion having been provided to the Notice Parties; and it appearing

 that no other or further notice need be provided; and the Court having determined that the relief

 sought in the Motion is in the best interests of the Debtors, its creditors and all parties in interest;

 and upon the record of the hearings held on June 24, 2009 and June 29, 2009; and the Court

 having determined that the legal and factual bases set forth in the Motion establish just cause for

 the relief granted herein; and after due deliberation and sufficient cause appearing therefore, it is

                 ORDERED that the Motion is granted; and it is further

                 ORDERED that, pursuant to Rule 3003(c)(3) of the Bankruptcy Rules, and except

 as otherwise provided herein, September 22, 2009, at 5:00 p.m. (prevailing Eastern Time) is

 established as the deadline (the “Bar Date”) for each person or entity (including, without

 limitation, each individual, partnership, joint venture, corporation, estate, trust and governmental

 unit) to file proofs of claim (each a “Proof of Claim”) based on prepetition claims (as defined in

 section 101(5) of the Bankruptcy Code) against the Debtors; and it is further

                 ORDERED that all Proofs of Claim filed against the Debtors must substantially

 conform to the form attached as Exhibit B hereto (“Proof of Claim Form”) and must be received

 on or before the Bar Date by the official noticing and claims agent in the Debtors’ chapter 11

 cases, Epiq Bankruptcy Solutions, LLC (“Epiq”) or the Court. The original Proof of Claim Form

 should be sent to the following address:




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 If by overnight mail, to:                          If by first-class mail, to:

 Epiq Bankruptcy Solutions, LLC                     Lehman Brothers Holdings Claims Processing
 Attn: Lehman Brothers Holdings Claims              c/o Epiq Bankruptcy Solutions, LLC
 Processing                                         FDR Station, P.O. Box 5286
 757 Third Avenue, 3rd Floor                        New York, New York 10150-5076
 New York, New York 10017

 If by hand delivery, to:

 Epiq Bankruptcy Solutions, LLC
 Attn: Lehman Brothers Holdings Claims
 Processing
 757 Third Avenue, 3rd Floor
 New York, New York 10017

             or

 Clerk of the United States Bankruptcy Court
 Attn: Lehman Brothers Holdings Claims
 Processing
 One Bowling Green
 New York, New York 10004

 ; and it is further

                  ORDERED that Proofs of Claim will be deemed timely filed only if actually

 received by Epiq or the Court on or before the Bar Date; and it is further

                  ORDERED that neither the Court nor Epiq shall be required to accept Proofs of

 Claim sent by facsimile, telecopy, or electronic mail transmission; and it is further

                  ORDERED that the following persons or entities are not required to file a Proof

 of Claim on or before the Bar Date:

                  (a)    any person or entity whose claim is listed on the Schedules and (i) whose
                         claim is not described as “disputed,” “contingent,” or “unliquidated,” and
                         (ii) who does not dispute the amount, priority or nature of the claim set
                         forth in the Schedules;

                  (b)    any person or entity whose claim has been paid in full by the Debtors;




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               (c)   any person or entity that holds an interest in the Debtors, which interest is
                     based exclusively upon the ownership of common or preferred stock,
                     membership interests, partnership interests, or warrants or rights to
                     purchase, sell or subscribe to such a security or interest; provided,
                     however, that interest holders who wish to assert claims (as opposed to
                     ownership interests) against the Debtors that arise out of or relate to the
                     ownership or purchase of an interest, including claims arising out of or
                     relating to the sale, issuance, or distribution of the interest, must file
                     Proofs of Claim on or before the Bar Date, unless another exception
                     identified herein applies;

               (d)   any person or entity that holds a claim that has been allowed by an order
                     of this Court entered on or before the Bar Date;

               (e)   any holder of a claim for which a separate deadline is fixed by this Court;

               (f)   any holder of a claim who has already properly filed a Proof of Claim with
                     the Clerk of the Court or Debtors’ court-approved claims agent, Epiq,
                     against the Debtors utilizing a claim form which substantially conforms to
                     the Proof of Claim Form; provided, however, any holder that has filed a
                     Proof of Claim based on a Derivative Contract or a Guarantee on or prior
                     to the Bar Date, is required to amend such Proof of Claim to conform to
                     the procedures set forth in this Motion for the filing of Proofs of Claims
                     based on Derivative Contracts and Guarantees;

               (g)   any holder of any claim solely against (i) Lehman Brothers Inc. or (ii) any
                     other entity affiliated with the Debtors that is involved in a bankruptcy,
                     insolvency proceeding or similar proceeding, in a foreign jurisdiction;
                     provided, however, if such claim is based on an obligation guaranteed by
                     a Debtor, the holder of such claim must file a Proof of Claim on or before
                     the Bar Date;

               (h)   any holder of a security listed on the Master List of Securities available on
                     the Debtors’ website http://www.lehman-docket.com (the “Master List of
                     Securities”) due to the fact that the indenture trustee for such securities
                     will file a global proof of claim on behalf of all holders of securities issued
                     thereunder; (Wilmington Trust Company, US Bank National Association,
                     and the indenture trustee for each of the other securities included on the
                     Master List of Securities, each will file a global proof(s) of claim on
                     behalf of all holders of securities for which it is identified as Indenture
                     Trustee on the Master List of Securities); provided, however, that
                     security holders who wish to assert claims against the Debtors arising out
                     of or relating to the sale, issuance, or distribution of a security, must file
                     Proofs of Claim on or before the Bar Date, unless another exception
                     identified herein applies; and



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                 (i)     any entity included on the Exempt Entities List available on the Debtors’
                         website http://www.lehman-docket.com (the “Exempt Entities List”) and
                         any subsidiary for which the entity on the Exempt Entities List owns at
                         least a fifty percent equity interest in such subsidiary, specifically
                         excluding any subsidiary that is in a bankruptcy, insolvency or similar
                         proceeding in a foreign jurisdiction and Lehman Brothers Inc.;

 and it is further

                 ORDERED that, any holder of a security that is not listed on the Master List of

 Securities may request that a security be added to the Master List of Securities by completing the

 form entitled “Inquiry Regarding Security Not on Master List of Securities” available on the

 Debtors’ website http://www.lehman-docket.com and submitting it to the Debtors as directed on

 such form on or prior to August 5, 2009. The Debtors will investigate the inquiry and within 15

 days of the receipt of such inquiry, the Debtors will (x) add the security to the Master List of

 Securities (if appropriate) or (y) provide an explanation solely to the party submitting such

 inquiry as to why the security will not be added to the Master List of Securities. The Master List

 of Securities listed on the website shall be final as of August 20, 2009; and it is further

                 ORDERED that any security that is listed on the Master List of Securities is not a

 Derivative Contract and the holders of such security are not required to complete the Derivative

 Questionnaire on account of such security; and it is further

                 ORDERED that a holder (or any other party authorized under the Bankruptcy

 Code and the Bankruptcy Rules to submit a Proof of Claim on behalf of such holder) of a

 security that is guaranteed by a Debtor shall be required to file a Proof of Claim against such

 Debtor based on the Guarantee and complete the Guarantee Questionnaire; and it is further

                 ORDERED that any person or entity that holds a claim arising from the rejection

 of an executory contract or unexpired lease must file a Proof of Claim based on such rejection by




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 the later of (i) the Bar Date and (ii) the date which is forty-five (45) days following the effective

 date of such rejection or be forever barred from doing so; and it is further

                 ORDERED that each Proof of Claim must: (i) be written in the English language;

 (ii) be denominated in lawful currency of the United States; (iii) conform substantially with the

 Proof of Claim Form; (iv) state the name and case number of the specific Debtor against which it

 is filed; (v) set forth with specificity the legal and factual basis for the alleged claim; (vi) include

 supporting documentation or an explanation as to why documentation is not available; and (vii)

 be signed by the claimant or by an authorized agent of the claimant; and it is further

                 ORDERED that for the purposes of this Order, the term “Derivative Contract”

 shall mean any contract that is any of (i) a “swap agreement” as such term is defined in section

 101(53B) of the Bankruptcy Code or (ii) a “forward contract” as such term is defined in section

 101(25) of the Bankruptcy Code; provided that a cash-market purchase or sale of a security or

 loan (i.e. any purchase or sale of a security or loan for settlement within the standard settlement

 cycle for the relevant market), exchange-traded future or option, securities loan transaction,

 repurchase agreement in respect of securities or loans, and any guarantee or reimbursement

 obligations which would otherwise be included in the definition of “swap agreement” or

 “forward contract” pursuant to the definition of such terms in the Bankruptcy Code shall not be

 considered a Derivative Contract for the purposes of this definition; provided further that, any

 notes, bonds, or other securities issued by the Debtors or their affiliates (including, but not

 limited to, Lehman Brothers Holdings Inc., Lehman Brothers Treasury Co. B.V., Lehman

 Brothers Bankhaus AG, Lehman Brothers Holdings plc, Lehman Brothers Securities N.V., and

 Lehman Brothers (Luxembourg) Equity Finance S.A.) shall not be considered “Derivatives

 Contracts” within the meaning of this Order; and it is further


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                 ORDERED that each holder of a claim against a Debtor based on amounts owed

 pursuant to any Derivative Contract must:

                 (a)     on or before the Bar Date, fill-out and return a Proof of Claim in the same
                         manner as all other claimants;

                 (b)     check the appropriate box on the Proof of Claim;

                 (c)     on or before October 22, 2009, at 5:00 pm (prevailing Eastern Time)
                         (the “Questionnaire Deadline”), log on to http://www.lehman-claims.com,
                         enter the unique identification number included (the “Unique ID
                         Number”) on the Proof of Claim mailed to such holder by the Debtors and
                         complete the electronic Derivative Questionnaire, substantially in the form
                         attached as Exhibit C hereto (the “Derivative Questionnaire”); and

                 (d)     on or before the Questionnaire Deadline, electronically upload supporting
                         documentation on the website (as required in the Derivative
                         Questionnaire), rather than attaching such documents to the Proof of
                         Claim;

 and it is further

                 ORDERED that each holder of a claim against a Debtor based on amounts owed

 pursuant to a promise, representation or agreement to answer for the payment of some debt or the

 performance of some duty in case of the failure of another person or entity who is liable in the

 first instance (a “Guarantee”) must:

                 (a)     on or before the Bar Date fill-out and return a Proof of Claim in the same
                         manner as all other claimants;

                 (b)     on or before the Bar Date check the appropriate box on the Proof of
                         Claim;

                 (c)     on or before the Questionnaire Deadline (October 22, 2009, at 5:00 pm
                         (prevailing Eastern Time)), log on to http://www.lehman-claims.com,
                         enter the Unique ID Number included on the Proof of Claim mailed to
                         such holder by the Debtors and complete the electronic Guarantee
                         Questionnaire, substantially in the form attached as Exhibit D hereto (the
                         “Guarantee Questionnaire”); and

                 (d)     on or before the Questionnaire Deadline, electronically upload supporting
                         documentation and evidence of the underlying claim amount on the


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                         website, as required in the Guarantee Questionnaire, rather than attaching
                         such documents to the Proof of Claim;

 and it is further

                 ORDERED that, each holder of a claim against a Debtor based on a Guarantee by

 a Debtor of the obligations of a non-Debtor entity under a Derivative Contract must:

                 (a)     on or before the Bar Date, fill-out and return a Proof of Claim in the same
                         manner as all other claimants;

                 (b)     check both boxes on the Proof of Claim that such claim is based on a
                         Derivative Contract and based on a Guarantee;

                 (c)     on or before the Questionnaire Deadline (October 22, 2009, at 5:00 pm
                         (prevailing Eastern Time)), log on to http://www.lehman-claims.com,
                         enter the Unique ID Number of the Proof of Claim and complete the
                         electronic Guarantee Questionnaire and electronically upload supporting
                         documentation on the website (as required in the Guarantee
                         Questionnaire), rather than attaching such documents to the Proof of
                         Claim; and

                 (d)     on or before the Questionnaire Deadline, log on to http://www.lehman-
                         claims.com, enter the Unique ID Number of the Proof of Claim and
                         complete the electronic Derivative Questionnaire and electronically
                         upload supporting documentation on the website (as required in the
                         Derivative Questionnaire), rather than attaching such documents to the
                         Proof of Claim;

 and it is further

                 ORDERED that if a holder is required to complete the Derivative Questionnaire

 or Guarantee Questionnaire, such holder need only submit the documentation required by the

 applicable Questionnaire by the Questionnaire Deadline and need not submit the documentation

 required by the applicable Questionnaire with such holder’s Proof of Claim by the Bar Date; and

 it is further

                 ORDERED that if a holder files a Proof of Claim based on a Derivative Contract

 or a Guarantee that does not have a Unique ID Number, such holder shall comply with the



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 procedures set forth in the prior three paragraphs, except that instead of entering a Unique ID

 Number on the website, such holder shall instead indicate on the website that they filed a Proof

 of Claim that did not have a Unique ID Number; and it is further

                ORDERED that entities affiliated with the Debtors that are the subject of a

 bankruptcy, insolvency proceeding or similar proceeding in a foreign jurisdiction that file a claim

 against a Debtor shall not be required to complete the Derivative Questionnaire; and it is further

                ORDERED that the information submitted on the website http://www.lehman-

 claims.com in respect of Derivative Contracts and Guarantees will not be accessible on the

 website other than by the party that submitted such information, the Debtors, the Creditors’

 Committee and their respective advisors and counsel; and it is further

                ORDERED that the website http://www.lehman-claims.com and the information

 submitted thereon will remain accessible by the party that submitted such information following

 the Bar Date and the information submitted on the website will be subject to the same rules and

 standards as amendments and supplements to proofs of claim; and it is further

                ORDERED that if a holder asserts a claim against more than one Debtor or has

 claims against different Debtors, a separate Proof of Claim must be filed with respect to each

 Debtor; and it is further

                ORDERED that pursuant to Bankruptcy Rule 3003(c)(2), any holder of a claim

 against the Debtors who is required, but fails to file a proof of such claim in accordance with the

 Bar Date Order on or before the Bar Date, specifically, including filling out the Derivative

 Questionnaire or the Guarantee Questionnaire and uploading required information to the website

 http://www.lehman-claims.com (which Derivative Questionnaire or Guarantee Questionnaire

 shall not be required to be completed until the Questionnaire Deadline), specifying the applicable


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 Debtor and other requirements set forth herein, shall be forever barred, estopped and enjoined

 from asserting such claim against the Debtors (or filing a Proof of Claim with respect thereto),

 and the Debtors and their property shall be forever discharged from any and all indebtedness or

 liability with respect to such claim, and such holder shall not be permitted to vote to accept or

 reject any chapter 11 plan filed in these chapter 11 cases, or participate in any distribution in the

 Debtors’ chapter 11 cases on account of such claim or to receive further notices regarding such

 claim; and it is further

                 ORDERED that notice of the entry of this Order and of the Bar Date in

 substantially the form attached as Exhibit A hereto (the “Bar Date Notice”), which Bar Date

 Notice are approved in all respects, shall be deemed good, adequate, and sufficient notice if it is

 served by deposit in the United States mail, first class postage prepaid, on or before July 8, 2009

 upon:

                 (a)        the U.S. Trustee;

                 (b)        attorneys for the Creditors’ Committee;

                 (c)        all known holders of claims listed on the Schedules at the addresses stated
                            therein;

                 (d)        all (i) current employees of the Debtors, (ii) all former employees of the
                            Debtors terminated after September 1, 2006 and (iii) all of the Debtors’
                            retirees;

                 (e)        all parties known to the Debtors as having potential claims against the
                            Debtors’ estates;

                 (f)        all counterparties to the Debtors’ executory contracts and unexpired leases
                            listed on the Schedules at the addresses stated therein;

                 (g)        all parties to litigation with the Debtors (as of the date of the entry of the
                            Bar Date Order);

                 (h)        the Internal Revenue Service for the district in which the case is pending
                            and, if required by Bankruptcy Rule 2002(j), the Securities and Exchange


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                         Commission and any other required governmental units (a list of such
                         agencies is available from the Office of the Clerk of the Court); and

                 (i)     all parties who have requested notice pursuant to Bankruptcy Rule 2002;

 and it is further

                 ORDERED that the Debtors shall mail one or more Proof of Claim Forms (as

 appropriate) to all parties listed in the preceding paragraph, each with a Unique ID Number

 printed on the form, together with instructions for filing a Proof of Claim, except that the Proof

 of Claim Form shall be omitted from any mailing to holders of LBHI securities that are on the

 Master List of Securities; and it is further

                 ORDERED that, pursuant to Bankruptcy Rules 2002(f) and (l), the Debtors shall

 publish the notice substantially in the form of the Bar Date Notice once in The New York Times

 (International Edition), The Wall Street Journal (International Edition) and The Financial Times,

 each at least forty-five (45) days prior to the Bar Date, which publication is hereby approved in

 all respects and shall be deemed good, adequate, and sufficient publication notice of the Bar Date

 and the procedures for filing Proofs of Claim in these cases; and it is further

                 ORDERED that, if the Debtors amend or supplement their Schedules subsequent

 to the date hereof, the Debtors shall give notice of any amendment or supplement to the holders

 of claims affected thereby, and such holders shall be required to file Proofs of Claim in respect of

 their claims prior to the later of (i) the Bar Date and (ii) thirty (30) days from the date on which

 such notice is given, or be forever barred from doing so; and it is further

                 ORDERED that Proofs of Claims may only be filed by parties that are authorized

 to file such claims in accordance with Bankruptcy Code and the Bankruptcy Rules; and it is

 further




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                 ORDERED that any current or former affiliate of the Debtors, other than affiliates

 listed on the Exempt Entities List, that has a claim (as defined in section 101(5) of the

 Bankruptcy Code) against any of the Debtors that arose prior to the applicable Commencement

 Date must file a Proof of Claim in accordance with this Order or be forever barred from doing

 so; and it is further

                 ORDERED that (other than stipulations, agreements and orders entered into by

 the Debtors with JPMorgan Chase Bank, N.A, Pacific Investment Management Company LLC

 and the Internal Revenue Service) the Debtors shall not enter into any stipulations or agreements

 that modify the procedures set forth in this Order for the filing of Proofs of Claim based on

 Derivative Contracts (including the completion of the Derivative Questionnaire) without either

 the consent of the Creditors’ Committee or the approval of the Court; and it is further

                 ORDERED that notwithstanding anything to the contrary contained in this Order, the

 following procedures apply to the filing of any and all claims (including any claims under a related

 Guarantee) against the Debtors arising from securities issued by the Debtors or any of the Debtors’

 affiliates outside of the United States, solely to the extent identified on http://www.lehman-

 docket.com under the heading “Lehman Programs Securities” (any such security, a “Lehman

 Program Security”) as of July 17, 2009 at 5:00 pm (prevailing Eastern Time):

                 (a)     November 2, 2009, at 5:00 p.m. (prevailing Eastern Time) is established as
                         the deadline (the “Securities Programs Bar Date”) for each person or entity
                         (including, without limitation, each individual, partnership, joint venture,
                         corporation, estate, trust and governmental unit) (the “Filing Entities” and
                         each a “Filing Entity”) to file proofs of claim based on any Lehman Program
                         Security;

                 (b)     the Debtors, in coordination with the Creditors’ Committee, are authorized to,
                         and will, create a notice of the Securities Programs Bar Date (the “Securities
                         Programs Bar Date Notice”) and a proof of claim form (the “Securities
                         Programs Proof of Claim Form”) as necessary to provide notice of the
                         Securities Programs Bar Date;



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               (c)   the Debtors are authorized to, and will, translate the Securities Programs Bar
                     Date Notice into relevant foreign languages; it being understood that claims
                     submitted in respect of any Lehman Program Security must: (i) be written in
                     the English language; (ii) to the extent a claim amount is reflected thereon, be
                     denominated in lawful currency of the United States using the exchange rate
                     as applicable as of September 15, 2008; (iii) conform substantially with the
                     Securities Programs Proof of Claim Form; (iv) state the name and case
                     number of the specific Debtor against which it is filed; (v) identify the
                     International Securities Identification Number (“ISIN”) and/or Committee on
                     Uniform Securities Identification Procedures (“CUSIP”) number, as
                     applicable, for each Lehman Program Security; (vi) include either a Euroclear
                     electronic instruction reference number or a Clearstream blocking reference
                     number; (vii) be signed by the Filing Entity or by an authorized agent of the
                     Filing Entity; and (viii) be submitted in hard copy form with an original
                     signature;

               (d)   the Debtors shall publish on http://www.lehman-docket.com a proposed list
                     of “Lehman Programs Securities,” to include at a minimum issuances under
                     (i) that certain U.S.$100,000,000,000 Euro Medium Term-Note Program, (ii)
                     that certain U.S.$4,000,000,000 German Note Issuance Programme, as
                     described in a certain Base Prospectus, dated August 28, 2007, (iii) the Swiss
                     Certificates Programme, as described in a certain Programme Prospectus,
                     dated November 29, 2007 and (iv) the Italian Inflation Linked Notes, dated
                     December 2005 – December 2017, which list will include the ISIN and/or
                     CUSIP, as applicable, for each Lehman Program Security, no later than July
                     6, 2009 at 5:00 pm (prevailing Eastern Time), and the Debtors, the Creditors’
                     Committee, the account holders or holders of any Lehman Program Security
                     that identify themselves in writing to the Debtors, and the trustees for Lehman
                     Brothers Treasury Co. B.V. and other applicable foreign proceedings will
                     work in good faith to agree on a list of “Lehman Programs Securities” by no
                     later than July 13, 2009;

               (e)   in the event there are any disputes concerning the contents of the list of
                     “Lehman Program Securities,” the Court may consider such disputes on an
                     expedited basis with notice to the disputing parties;

               (f)   notice of the entry of this Order, of the Bar Date and of the Securities
                     Programs Bar Date in the form of the Securities Programs Bar Date Notice
                     shall be deemed good, adequate, and sufficient notice if (i) it is served by
                     deposit in the United States mail, first class postage prepaid, and/or delivered
                     by electronic mail on or before July 27, 2009 upon (1) the U.S. Trustee, (2)
                     Euroclear, Clearstream and the Depository Trust Company and other similar
                     clearing systems, as applicable (collectively, the “Clearing Systems”) and (3)
                     each of the issuers (and their representative or administrator) of the Lehman
                     Program Securities (the “Issuers”), and (ii) the Debtors request that the
                     Clearing Systems and the Issuers promptly distribute the Securities Program




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                     Bar Date Notice to the account holders and/or holders of any Lehman
                     Program Security;

               (g)   pursuant to Bankruptcy Rules 2002(f) and (l), the Debtors shall publish notice
                     (translated into the appropriate language, if necessary) substantially in the
                     form of the Securities Programs Bar Date Notice at least once in one leading
                     national newspaper in each of Italy, Spain, France, Germany, The
                     Netherlands (in English), Switzerland, Luxembourg, United Kingdom, Hong
                     Kong, Mexico, Belgium, Austria, Greece, Brazil, Argentina, Australia and
                     Japan, each at least sixty (60) days prior to the Securities Programs Bar Date,
                     which publication notice hereby is approved in all respects and shall be
                     deemed good, adequate, and sufficient notice of the Bar Date and the
                     Securities Programs Bar Date and the procedures for filing Proofs of Claim
                     and Securities Programs Proofs of Claim in these cases;

               (h)   any person or entity that files a claim based on both (i) a Lehman Program
                     Security and (ii) any other claim, is not required to complete the Guarantee
                     Questionnaire or Derivative Questionnaire in respect of the portion of the
                     claim that relates to such Lehman Program Security, but is required to
                     complete the Guarantee Questionnaire and Derivative Questionnaire, as
                     applicable, prior to the Questionnaire Deadline with respect to all other
                     claims that are not based on a Lehman Program Security;

               (i)   persons or entities that file claims based on any Lehman Program Security are
                     not required to attach or submit any documentation supporting any claim
                     based on such Lehman Program Security; provided however that, the Debtors
                     reserve the right to seek production of all documentation required by
                     Bankruptcy Rule 3001(c) as part of the claims reconciliation process;

               (j)   claims based on any Lehman Program Security shall not be disallowed on the
                     ground that such claims were not filed by the proper party or an authorized
                     agent, as contemplated by Bankruptcy Rule 3001(b);

               (k)   a Filing Entity that files a claim based on any Lehman Program Security, by
                     filing such claim, for the purposes of U.S. Bankruptcy proceedings, consents
                     to and hereby is deemed to be the claimant for the purpose of receiving
                     notices and distributions, if any, except as otherwise provided in a
                     confirmation order related to a plan, and responding to any objection
                     interposed as to such claim. For the avoidance of doubt, a Filing Entity that
                     files a claim on behalf of multiple account holders or holders of any Lehman
                     Program Security shall not be required to provide identifying information for
                     such account holders or holders of any Lehman Program Security;

               (l)   nothing in this Order shall impose a duty or obligation on any party to any
                     agreement related to any Lehman Program Security to file a claim beyond
                     whatever duty or obligation currently exists in the applicable agreements for
                     the Lehman Program Security or applicable law;



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                (m)     nothing in this Order shall prevent a holder of a Lehman Program Security
                        that has filed a proof of claim from buying or selling claims based on a
                        Lehman Program Security in a manner consistent with the applicable clearing
                        system practice; and

                (n)     other than as specifically provided in clauses (a) through (m) above, all
                        provisions of this Order apply to holders of claims under any Lehman
                        Program Security and holders of claims based on such Lehman Program
                        Security are required to comply with all provisions of this Order;

                and it is further

                ORDERED that nothing in this Order shall prejudice the right of the Debtors or

 any other party in interest to dispute or assert offsets or defenses to any claim reflected in the

 Schedules; and it is further

                ORDERED that the Debtors and Epiq are authorized and empowered to take such

 steps and perform such acts as may be necessary to implement and effectuate the terms of this

 Order; and it is further

                ORDERED that notification of the relief granted by this Order as provided herein

 and in the Motion is fair and reasonable and will provide good, sufficient, and proper notice to

 all creditors of their obligations in connection with claims they may have against the Debtors in

 these chapter 11 cases; and it is further

                ORDERED that any person or entity who desires to rely on the Schedules will

 have the responsibility for determining that the claim is accurately listed in the Schedules; and it

 is further




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                ORDERED that entry of this Order is without prejudice to the right of the Debtors

 to seek a further order of this Court fixing the date by which holders of claims not subject to the

 Bar Date established herein must file such claims against the Debtors or be forever barred from

 voting upon any chapter 11 plan of the Debtors, from receiving any payment or distribution of

 property from the Debtors, Debtors’ estates, or their successors or assigns with respect to such

 claims, and from asserting such claims against the Debtors.




 Dated: New York, New York
        July 2, 2009
                                                 s/ James M. Peck
                                               UNITED STATES BANKRUPTCY JUDGE




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                                                   Exhibit A

                                               Notice of Bar Date




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                    :
 In re                                                              :      Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                                  08-13555 (JMP)
                                                                    :
                                     Debtors.                       :      (Jointly Administered)
                                                                    :
                                                                    :
 -------------------------------------------------------------------x
                            NOTICE OF DEADLINES FOR FILING PROOFS OF CLAIM

 TO ALL PERSONS AND ENTITIES WITH
 CLAIMS AGAINST THE DEBTOR LISTED BELOW:

           PLEASE TAKE NOTICE THAT, on July 2, 2009, the United States Bankruptcy Court for the Southern
 District of New York (the “Court”), having jurisdiction over the chapter 11 cases of Lehman Brothers Holdings Inc.
 and certain of its affiliates, as debtors and debtors in possession in the above referenced chapter 11 cases
 (collectively, the “Debtors”), entered an order (the “Bar Date Order”) establishing September 22, 2009, at 5:00
 p.m. (prevailing Eastern Time) as the last date and time for each person or entity (including, without limitation,
 individuals, partnerships, corporations, joint ventures, and trusts) to file a proof of claim (“Proof of Claim”) based
 on prepetition claims against the Debtors (the “Bar Date”). The Bar Date Order, the Bar Date and the procedures set
 forth below for the filing of Proofs of Claim apply to all claims against the Debtors (other than those set forth below
 as being specifically excluded) that arose prior to the applicable Commencement Date (the “Commencement Date”),
 the date on which the Debtors commenced their case under chapter 11 of title 11 of the United States Code (the
 “Bankruptcy Code”), as set forth in Schedule A hereto.
        If you have any questions with respect to this Notice, please feel free to contact the Debtors’ court-
 approved claims agent Epiq Bankruptcy Solutions, LLC (“Epiq”) at (866)-879-0688.
       A CLAIMANT SHOULD CONSULT AN ATTORNEY IF THE CLAIMANT HAS ANY
 QUESTIONS, INCLUDING WHETHER SUCH CLAIMANT SHOULD FILE A PROOF OF CLAIM.
 PLEASE NOTE THAT EPIQ IS NOT PERMITTED TO GIVE LEGAL ADVICE.
         Some parties are required to file a Proof of Claim in order to preserve their claim against the
 Debtors. Other parties are not required to file a Proof of Claim in order to preserve their claim against the
 Debtors. The following is a summary explanation of each.
 1.        WHO MUST FILE A PROOF OF CLAIM
          You MUST file a Proof of Claim to share in the Debtors’ estates if you have a claim that arose prior to the
 applicable Commencement Date, and it is not one of the other types of claims described in Section 2 below. Acts or
 omissions of the Debtors that arose before the applicable Commencement Date, may give rise to claims against the
 Debtors that must be filed by the Bar Date, notwithstanding that such claims may not have matured or become fixed
 or liquidated prior to the applicable Commencement Date. Pursuant to section 101(5) of the Bankruptcy Code and
 as used herein, the word “claim” means: (a) a right to payment, whether or not such right is reduced to judgment,
 liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured, or
 unsecured; or (b) a right to an equitable remedy for breach of performance if such breach gives rise to a right to
 payment, whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent, matured,
 unmatured, disputed, undisputed, secured, or unsecured.




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 2.        WHO NEED NOT FILE A PROOF OF CLAIM

           You need not file a Proof of Claim if:

                     (1) Your claim is listed on the Schedules and (i) is not described as “disputed,” “contingent,” or
                         “unliquidated,” and (ii) you do not dispute the amount, priority or nature of the claim set forth
                         in the Schedules;
                     (2) Your claim has been paid in full by the Debtors;
                     (3) You hold an interest in the Debtors, which interest is based exclusively upon the ownership of
                         common or preferred stock, membership interests, partnership interests, or warrants or rights
                         to purchase, sell or subscribe to such a security or interest; provided, however, that interest
                         holders who wish to assert claims (as opposed to ownership interests) against the Debtors that
                         arise out of or relate to the ownership or purchase of an interest, including claims arising out
                         of or relating to the sale, issuance, or distribution of the interest, must file Proofs of Claim on
                         or before the Bar Date, unless another exception identified herein applies;
                     (4) You hold a claim that has been allowed by an order of this Court entered on or before the Bar
                         Date;
                     (5) You hold a claim for which a separate deadline is fixed by this Court;
                     (6) You hold a claim for which you have already properly filed a Proof of Claim with the Clerk
                         of the Court or Debtors’ court-approved claims agent, Epiq, against the Debtors utilizing a
                         claim form which substantially conforms to the Proof of Claim Form; provided, however,
                         any holder that has filed a Proof of Claim based on a Derivative Contract (as defined below)
                         or a Guarantee (as defined below) on or prior to the Bar Date, is required to amend such Proof
                         of Claim to conform to the procedures set forth in this Motion for the filing of Proofs of
                         Claims based on Derivative Contracts and Guarantee;
                     (7) You hold a claim solely against (i) Lehman Brothers Inc. or (ii) any other entity affiliated with
                         the Debtors that is involved in a bankruptcy or insolvency proceeding or similar proceeding,
                         in foreign jurisdiction; provided, however, if such claim is based on an obligation guaranteed
                         by a Debtor, the holder of such claim must file a Proof of Claim on or before the Bar Date;
                     (8) You hold a security listed on the Master List of Securities available on the Debtors’ website
                         http://www.lehman-docket.com (the “Master List of Securities”) due to the fact that the
                         indenture trustee for such securities will file a global proof of claim on behalf of all holders of
                         securities issued thereunder; (Wilmington Trust Company, US Bank National Association,
                         and the indenture trustee for each of the other securities included on the Master List of
                         Securities, each will file a global proof(s) of claim on behalf of all holders of securities for
                         which it is identified as Indenture Trustee on the Master List of Securities); provided,
                         however, that security holders who wish to assert claims against the Debtors arising out of or
                         relating to the sale, issuance, or distribution of a security, must file Proofs of Claim on or
                         before the Bar Date, unless another exception identified herein applies; and
                     (9) You are an entity included on the Exempt Entities List available on the Debtors’ website
                         http://www.lehman-docket.com (the “Exempt Entities List”) and any subsidiary for which the
                         entity on the Exempt Entities List owns at least a fifty percent equity interest in such
                         subsidiary, specifically excluding any subsidiary that is in a bankruptcy, insolvency or similar
                         proceeding in a foreign jurisdiction and Lehman Brothers Inc.
          If your claim falls within any of the above categories, your rights as the holder of such claim will be
 preserved without you filing of a Proof of Claim. Any other person or entity (including, without limitation, each
 individual, partnership, joint venture, corporation, estate, trust or governmental entity) that has a claim against a
 Debtor must file a Proof of Claim, as described herein, before the Bar Date.




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 YOU SHOULD NOT FILE A PROOF OF CLAIM IF YOU DO NOT HAVE A CLAIM AGAINST THE
 DEBTORS.
 THE FACT THAT YOU HAVE RECEIVED THIS NOTICE DOES NOT MEAN THAT YOU HAVE A
 CLAIM OR THAT THE DEBTORS OR THE COURT BELIEVE THAT YOU HAVE A CLAIM. MANY
 PARTIES ARE REQUIRED TO BE SERVED WITH THIS NOTICE AND IT IS REQUIRED TO REACH
 A BROAD AUDIENCE OF POTENTIAL CLAIMANTS.
 SPECIAL NOTE TO HOLDERS OF LEHMAN SECURITIES
 Holders of securities are NOT required to file a proof of claim on account of their ownership if, and only if, such
 security is listed on the Debtors’ Master List of Securities because such security was issued under an indenture
 pursuant to which an indenture trustee will file a global proof of claim on behalf of all holders of securities issued
 thereunder; (Wilmington Trust Company, US Bank National Association, and the indenture trustee for each of the
 other securities included on the Master List of Securities, each will each file a global proof(s) of claim on behalf of
 all holders of securities for which it is identified as Indenture Trustee on the Master List of Securities). The Master
 List of Securities is available for review at http://www.lehman-docket.com. The list is fully searchable by code
 (CUSIP or ISIN) or by security description.

 If you do not see your security listed on the Master List of Securities and you have a question about the Master List
 of Securities, please download the form entitled “Inquiry Regarding Security Not on Master List of Securities,” and
 complete and return it as directed on the form prior to August 5, 2009.

 Inquiries will be investigated, and within 15 days of the Debtors receipt of such inquiry, either the security will
 either be added to the Master List of Securities (if appropriate), or, if you have provided contact information, you
 will be notified that the security is not being added to the Master List of Securities and given further information.

 The Master List of Securities shall be finalized on August 20, 2009 and not subject to further change.

 A Proof of Claim form is being included with the Bar Date Notices being served on holders of LBHI securities other
 than to holders of securities that are on the Master List of Securities.

 IF YOU BELIEVE YOU HAVE A CLAIM AGAINST LBHI OTHER THAN ON ACCOUNT OF YOUR LEHMAN SECURITIES
 OWNERSHIP, YOU MUST FILE A PROOF OF CLAIM FORM, AS DIRECTED IN THIS BAR DATE NOTICE. A COPY OF THE
 PROOF OF CLAIM FORM IS AVAILABLE AT HTTP://WWW.LEHMAN-DOCKET.COM.


 3.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES
          Any person or entity that holds a claim arising from the rejection of an executory contract or unexpired
 lease must file a Proof of Claim based on such rejection by the later of (i) the Bar Date, and (ii) the date which is
 forty-five (45) days following the effective date of such rejection or be forever barred from doing so.

 4.         WHEN AND WHERE TO FILE
            All Proofs of Claim must be filed so as to be actually received on or before the Bar Date at the following
 address:

 If by overnight mail, to:                                     If by first-class mail, to:

 Epiq Bankruptcy Solutions, LLC                                Lehman Brothers Holdings Claims Processing
 Attn: Lehman Brothers Holdings Claims Processing              c/o Epiq Bankruptcy Solutions, LLC
 757 Third Avenue, 3rd Floor                                   FDR Station, P.O. Box 5286
 New York, New York 10017                                      New York, New York 10150-5076




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 If by hand delivery, to:

 Epiq Bankruptcy Solutions, LLC
 Attn: Lehman Brothers Holdings Claims Processing
 757 Third Avenue, 3rd Floor
 New York, New York 10017

             or

 Clerk of the United States Bankruptcy Court
 Attn: Lehman Brothers Holdings Claims Processing
 One Bowling Green
 New York, New York 10004

 Proofs of Claim will be deemed timely filed only if actually received by Epiq or the Court on or before the Bar
 Date. Proofs of Claim may not be delivered by facsimile, telecopy, or electronic mail transmission.

 In the event the Debtors amend their Schedules to (a) designate a claim as disputed, contingent, unliquidated or
 undetermined, (b) change the amount of a claim reflected therein, or (c) add a claim that was not listed on the
 Schedules or remove a claim that was listed on the Schedules, then, and in such event, the Debtors will notify the
 affected claimant be notified of such amendment and be granted thirty (30) days from the date of such notification
 within which to file a claim or be forever barred from doing so.

 5.        WHAT TO FILE
           If you file a Proof of Claim, your filed Proof of Claim must: (i) be written the English language; (ii) be
 denominated in the lawful currency of the United States; (iii) conform substantially with the form attached to this
 notice (the “Proof of Claim Form”); (iv) state the name and case number of the specific Debtor against which it is
 filed; (v) set forth with specificity the legal and factual basis for the alleged claim; (vi) include supporting
 documentation or an explanation as to why documentation is not available; and (vii) be signed by the claimant or by
 an authorized agent of the claimant.

 If you are asserting a claim against more than one Debtor or have claims against different Debtors, a separate Proof
 of Claim must be filed with respect to each such Debtor.

 EXCEPT AS SET FORTH IN THE FOLLOWING THREE PARAGRAPHS, YOU SHOULD ATTACH TO YOUR
 COMPLETED PROOF OF CLAIM FORM COPIES OF ANY WRITINGS UPON WHICH YOUR CLAIM IS BASED.
 IF THE DOCUMENTS ARE VOLUMINOUS, ATTACH A SUMMARY.
 CLAIMS BASED ON DERIVATIVE CONTRACTS
 IF YOU FILE A PROOF OF CLAIM BASED ON AMOUNTS OWED PURSUANT TO A DERIVATIVE CONTRACT,
 YOU MUST: (A) ON OR BEFORE THE BAR DATE, FILL-OUT AND RETURN A PROOF OF CLAIM FORM IN
 THE SAME MANNER AS ALL OTHER CLAIMANTS INCLUDING CHECKING THE APPROPRIATE BOX ON
 THE PROOF OF CLAIM AND (B) ON OR BEFORE THE QUESTIONNAIRE DEADLINE, LOG ON TO
 http://www.lehman-claims.com, ENTER THE UNIQUE IDENTIFICATION NUMBER INCLUDED ON THE PROOF OF
 CLAIM FORM MAILED TO SUCH HOLDER BY THE DEBTORS AND COMPLETE THE ELECTRONIC
 DERIVATIVE QUESTIONNAIRE SUBSTANTIALLY IN THE FORM ATTACHED AS EXHIBIT C TO THE BAR
 DATE ORDER (THE “DERIVATIVE QUESTIONNAIRE”) AND ELECTRONICALLY UPLOAD SUPPORTING
 DOCUMENTATION ON THE WEBSITE (AS REQUIRED IN THE DERIVATIVE QUESTIONNAIRE), RATHER
 THAN ATTACHING SUCH DOCUMENTS TO THE PROOF OF CLAIM FORM.
 A “DERIVATIVE CONTRACT” IS A CONTRACT THAT IS ANY OF (I) A “SWAP AGREEMENT” AS SUCH TERM
 IS DEFINED IN SECTION 101(53B) OF THE BANKRUPTCY CODE OR (II) A “FORWARD CONTRACT” AS SUCH
 TERM IS DEFINED IN SECTION 101(25) OF THE BANKRUPTCY CODE. A CASH-MARKET PURCHASE OR
 SALE OF A SECURITY OR LOAN (I.E. ANY PURCHASE OR SALE OF A SECURITY OR LOAN FOR
 SETTLEMENT WITHIN THE STANDARD SETTLEMENT CYCLE FOR THE RELEVANT MARKET),
 EXCHANGE-TRADED FUTURE OR OPTION, SECURITIES LOAN TRANSACTION, REPURCHASE
 AGREEMENT IN RESPECT OF SECURITIES OR LOANS, AND ANY GUARANTEE OR REIMBURSEMENT
 OBLIGATIONS WHICH WOULD OTHERWISE BE INCLUDED IN THE DEFINITION OF “SWAP AGREEMENT”



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 OR “FORWARD CONTRACT” PURSUANT TO THE DEFINITION OF SUCH TERMS IN THE BANKRUPTCY
 CODE SHALL NOT BE CONSIDERED A DERIVATIVE CONTRACT FOR THE PURPOSES OF THIS DEFINITION
 NOR SHALL ANY NOTES, BONDS, OR OTHER SECURITIES ISSUED BY THE DEBTORS OR THEIR
 AFFILIATES (INCLUDING, BUT NOT LIMITED TO, LEHMAN BROTHERS HOLDINGS INC., LEHMAN
 BROTHERS TREASURY CO. B.V., LEHMAN BROTHERS BANKHAUS AG, LEHMAN BROTHERS HOLDINGS
 PLC, LEHMAN BROTHERS SECURITIES N.V., AND LEHMAN BROTHERS (LUXEMBOURG) EQUITY FINANCE
 S.A.).
 THE “QUESTIONNAIRE DEADLINE” IS OCTOBER 22, 2009, AT 5:00 PM (PREVAILING EASTERN TIME).

 CLAIMS BASED ON A DEBTOR’S GUARANTEE
 IF YOU FILE A PROOF OF CLAIM BASED ON A GUARANTEE, YOU MUST: (A) ON OR BEFORE THE BAR
 DATE, FILL-OUT AND RETURN A PROOF OF CLAIM FORM IN THE SAME MANNER AS ALL OTHER
 CLAIMANTS INCLUDING CHECKING THE APPROPRIATE BOX ON THE PROOF OF CLAIM AND (B) ON OR
 BEFORE THE QUESTIONNAIRE DEADLINE, LOG ON TO http://www.lehman-claims.com, ENTER THE UNIQUE
 IDENTIFICATION NUMBER INCLUDED ON THE PROOF OF CLAIM FORM MAILED TO SUCH HOLDER BY
 THE DEBTORS AND COMPLETE THE ELECTRONIC GUARANTEE QUESTIONNAIRE SUBSTANTIALLY IN
 THE FORM ATTACHED AS EXHIBIT D TO THE BAR DATE ORDER (THE “GUARANTEE QUESTIONNAIRE”)
 AND ELECTRONICALLY UPLOAD SUPPORTING DOCUMENTATION AND EVIDENCE OF THE UNDERLYING
 CLAIM AMOUNT ON THE WEBSITE (AS REQUIRED IN THE GUARANTEE QUESTIONNAIRE), RATHER
 THAN ATTACHING SUCH DOCUMENTS TO THE PROOF OF CLAIM FORM.
 A “GUARANTEE” IS A PROMISE, REPRESENTATION OR AGREEMENT TO ANSWER FOR THE PAYMENT OF
 SOME DEBT OR THE PERFORMANCE OF SOME DUTY IN CASE OF THE FAILURE OF ANOTHER PERSON
 OR ENTITY WHO IS LIABLE IN THE FIRST INSTANCE.

 THE “QUESTIONNAIRE DEADLINE” IS OCTOBER 22, 2009, AT 5:00 PM (PREVAILING EASTERN TIME).

 CLAIMS BASED ON A DEBTOR’S GUARANTEE OF A DERIVATIVE CONTRACT WITH A NON-DEBTOR
 IF YOU FILE A PROOF OF CLAIM BASED ON A DEBTOR’S GUARANTEE OF A DERIVATIVE CONTRACT
 ENTERED INTO WITH A NON-DEBTOR, YOU MUST: (A) ON OR BEFORE THE BAR DATE, FILL-OUT AND
 RETURN A PROOF OF CLAIM FORM IN THE SAME MANNER AS ALL OTHER CLAIMANTS INCLUDING
 CHECKING BOTH BOXES ON THE PROOF OF CLAIM THAT SUCH CLAIM IS BASED ON BOTH A
 DERIVATIVE CONTRACT AND BASED ON A GUARANTEE AND (B) ON OR BEFORE THE QUESTIONNAIRE
 DEADLINE, LOG ON TO http://www.lehman-claims.com, ENTER THE UNIQUE IDENTIFICATION NUMBER
 INCLUDED ON THE PROOF OF CLAIM FORM MAILED TO SUCH HOLDER BY THE DEBTORS AND
 COMPLETE THE ELECTRONIC GUARANTEE QUESTIONNAIRE AND ELECTRONICALLY UPLOAD
 SUPPORTING DOCUMENTATION ON THE WEBSITE (AS REQUIRED IN THE GUARANTEE
 QUESTIONNAIRE), RATHER THAN ATTACHING SUCH DOCUMENTS TO THE PROOF OF CLAIM FORM AND
 LOG ON TO http://www.lehman-claims.com, ENTER THE UNIQUE IDENTIFICATION NUMBER INCLUDED ON
 THE PROOF OF CLAIM FORM MAILED TO SUCH HOLDER BY THE DEBTORS AND COMPLETE THE
 ELECTRONIC DERIVATIVE QUESTIONNAIRE AND ELECTRONICALLY UPLOAD SUPPORTING
 DOCUMENTATION ON THE WEBSITE (AS REQUIRED IN THE DERIVATIVE QUESTIONNAIRE), RATHER
 THAN ATTACHING SUCH DOCUMENTS TO THE PROOF OF CLAIM FORM.
 THE “QUESTIONNAIRE DEADLINE” IS OCTOBER 22, 2009, AT 5:00 PM (PREVAILING EASTERN TIME).

 If a holder is required to complete the Derivative Questionnaire or Guarantee Questionnaire, such holder need only submit the
 documentation required by the applicable Questionnaire by the Questionnaire Deadline and need not submit the documentation
 required by the applicable Questionnaire with such holder’s Proof of Claim by the Bar Date.

 If any holder files a Proof of Claim based on a Derivative Contract or a Guarantee which for any reason does not have a Unique
 ID Number, such holder shall still be required to comply with the procedures set forth in the prior two paragraphs, except that
 instead of entering a Unique ID Number on the website, such holder shall instead indicate on the website that they filed a Proof
 of Claim that did not have a Unique ID Number.

 A holder (or any other party authorized under the Bankruptcy Code and the Bankruptcy Rules to submit a Proof of Claim on
 behalf of such holder) of a security that is guaranteed by a Debtor shall be required to file a Proof of Claim against such Debtor
 based on the Guarantee and complete the Guarantee Questionnaire.

 Any security that is listed on the Master List of Securities is not a Derivative Contract and the holders of such security are not
 required to complete the Derivative Questionnaire on account of such security.



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 The information submitted on the website http://www.lehman-claims.com in respect of Derivative Contracts and Guarantees will
 not be accessible on the website other than by the party that submitted such information and the Debtors and the Creditors’
 Committee and their respective advisors and counsel.

 The website http://www.lehman-claims.com and the information submitted thereon will remain accessible by the party that
 submitted such information following the Bar Date and the information submitted on the website will be subject to the same rules
 and standards as amendments and supplements to proofs of claim.

 6.        CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE BAR DATE OR COMPLETE
           THE DERIVATIVE QUESTIONNAIRE PRIOR TO THE QUESTIONNAIRE DEADLINE
            Except with respect to claims of the type set forth in Section 2 above, any creditor who fails to file a Proof of
 Claim in accordance with the Bar Date Order on or before the Bar Date, specifically, including filling out the Derivative
 Questionnaire (if applicable) or the Guarantee Questionnaire (if applicable) and uploading required information to the
 website http://www.lehman-claims.com (which Derivative Questionnaire or Guarantee Questionnaire shall not be
 required to be completed until the Questionnaire Deadline), specifying the applicable Debtor and other requirements set
 forth in the Bar Date Order, for any claim such creditor holds or wishes to assert against the Debtors, will be forever
 barred, estopped, and enjoined from asserting such claim (and from filing a Proof of Claim with respect to such claim)
 against the Debtors and their estates, and their property will be forever discharged from any and all indebtedness or
 liability with respect to such claim, and the holder of such claim shall not be permitted to vote on any chapter 11 plan or
 participate in any distribution in the Debtors’ chapter 11 cases on account of such claim or to receive further notices
 regarding such claim or with respect to the Debtors’ chapter 11 cases.

 7.        THE DEBTORS’ SCHEDULES AND ACCESS THERETO
            You may be listed as the holder of a claim against the Debtors in the Schedules. Copies of the Schedules may be
 examined by interested parties on the Court’s electronic docket for the Debtors’ chapter 11 cases, which is posted on the Internet
 at http://www.lehman-docket.com and www.nysb.uscourts.gov (a PACER login and password are required and can be obtained
 through the PACER Service Center at www.pacer.psc.uscourts.gov.). Copies of the Schedules may also be examined by
 interested parties between the hours of 9:00 a.m. and 4:30 p.m. (prevailing Eastern Time) at the office of the Clerk of the
 Bankruptcy Court, United States Bankruptcy Court for the Southern District of New York, One Bowling Green, Room 511, New
 York, New York 10004.
 DATED:         June __, 2009                                          BY ORDER OF THE COURT
                New York, New York

 WEIL, GOTSHAL & MANGES LLP
 767 Fifth Avenue
 New York, New York 10153
 (212) 310-8000
 Lori R. Fife
 Shai Y. Waisman

 ATTORNEYS FOR DEBTORS AND
 DEBTORS IN POSSESSION




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                                                      Schedule A


                         Debtor                             Case Number        Commencement Date
 Lehman Brothers Holdings Inc.                                08-13555           September 15, 2008
 LB 745 LLC                                                   08-13600           September 16, 2008
 PAMI Statler Arms LLC                                        08-13664           September 23, 2008
 Lehman Brothers Commodity Services Inc.                      08-13885            October 3, 2008
 Lehman Brothers Special Financing Inc.                       08-13888            October 3, 2008
 Lehman Brothers OTC Derivatives Inc.                         08-13893            October 3, 2008
 Lehman Brothers Derivatives Products Inc.                    08-13899            October 5, 2008
 Lehman Commercial Paper Inc                                  08-13900            October 5, 2008
 Lehman Brothers Commercial Corporation                       08-13901            October 5, 2008
 Lehman Brothers Financial Products Inc.                      08-13902            October 5, 2008
 Lehman Scottish Finance L.P.                                 08-13904            October 5, 2008;
 CES Aviation LLC                                             08-13905            October 5, 2008
 CES Aviation V LLC                                           08-13906            October 5, 2008
 CES Aviation IX LLC                                          08-13907            October 5, 2008
 East Dover Limited                                           08-13908            October 5, 2008
 Luxembourg Residential Properties Loan                       09-10108            January 7, 2009
 Finance S.a.r.l.
 BNC Mortgage LLC                                             09-10137            January 9, 2009
 Structured Asset Securities Corporation                      09-10558            February 9, 2009
 LB Rose Ranch LLC                                            09-10560            February 9, 2009
 LB 2080 Kalakaua Owners LLC                                  09-12516             April 23, 2009




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                                     Exhibit B

                                Proof of Claim Form
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United States                   Doc 4271
              Bankruptcy Court/Southern          Filed
                                        District of     07/02/09
                                                    New York                                    Entered 07/02/09 14:42:52 Main Document
Lehman Brothers Holdings Claims Processing Center                                            Pg 26 of 32       PROOF OF CLAIM
c/o Epiq Bankruptcy Solutions, LLC
FDR Station, P.O. Box 5076
New York, NY 10150-5076
In Re:                                      Chapter 11
Lehman Brothers Holdings Inc., et al.       Case No. 08-13555 (JMP)
Debtors.                                    (Jointly Administered)
Name of Debtor Against Which Claim is Held               Case No. of Debtor



NOTE: This form should not be used to make a claim for an administrative expense arising
after the commencement of the case. A request for payment of an administrative expense
may be filed pursuant to 11 U.S.C. § 503.
                                                                                                                         THIS SPACE IS FOR COURT USE ONLY

Name and address of Creditor: (and name and address where notices should be sent if                                                                   NOTICE OF SCHEDULED CLAIM:
                                                                                                               Check this box to indicate that    Your Claim is scheduled by the indicated Debtor as:
different from Creditor)                                                                                  this claim amends a previously filed
                                                                                                          claim.


                                                                                                          Court Claim
                                                                                                          Number:_____________
                                                                                                           (If known)

Telephone number:                        Email Address:                                                   Filed on: _____________
Name and address where payment should be sent (if different from above)                                        Check this box if you are aware
                                                                                                          that anyone else has filed a proof of
                                                                                                          claim relating to your claim. Attach
                                                                                                          copy of statement giving particulars.

                                                                                                              Check this box if you are the
                                                                                                          debtor or trustee in this case.
Telephone number:                                   Email Address:
                                                                                                                                                  5. Amount of Claim Entitled to Priority
1. Amount of Claim as of Date Case Filed: $ _______________________________                                                                       under 11 U.S.C. §507(a). If any portion of
If all or part of your claim is secured, complete Item 4 below; however, if all of your claim is unsecured, do not complete                       your claim falls in one of the following
item 4.                                                                                                                                           categories, check the box and state the
If all or part of your claim is entitled to priority, complete Item 5.                                                                            amount.
If all or part of your claim qualifies as an Administrative Expense under 11 U.S.C. §503(b)(9), complete Item 6.
 Check this box if all or part of your claim is based on a Derivative Contract.*                                                                 Specify the priority of the claim:
 Check this box if all or part of your claim is based on a Guarantee.*
*IF YOUR CLAIM IS BASED ON AMOUNTS OWED PURSUANT TO EITHER A DERIVATIVE CONTRACT                                                                   Domestic support obligations under       11
OR A GUARANTEE OF A DEBTOR, YOU MUST ALSO LOG ON TO http://www.lehman-claims.com AND                                                              U.S.C. § 507(a)(1)(A) or (a)(1)(B).
FOLLOW THE DIRECTIONS TO COMPLETE THE APPLICABLE QUESTIONNAIRE AND UPLOAD                                                                          Wages, salaries or commissions (up to
SUPPORTING DOCUMENTATION OR YOUR CLAIM WILL BE DISALLOWED.                                                                                        $10,950), earned within 180 days before filing
 Check this box if claim includes interest or other charges in addition to the principal amount of the claim. Attach                             of the bankruptcy petition or cessation of the
itemized statement of interest or additional charges. Attach itemized statement of interest or charges to this form or on                         debtor's business, whichever is earlier - 11
http://www.lehman-claims.com if claim is a based on a Derivative Contract or Guarantee.                                                           U.S.C. § 507(a)(4).
                                                                                                                                                   Contributions to an employee benefit plan -
2.    Basis for Claim: ___________________________________________________                                                                        11 U.S.C. § 507(a)(5).
      (See instruction #2 on reverse side.)
                                                                                                                                                   Up to $2,425 of deposits toward purchase,
3.    Last four digits of any number by which creditor identifies debtor: _____________________________                                           lease, or rental of property or services for
      3a. Debtor may have scheduled account as: _____________________________________                                                             personal, family, or household use - 11 U.S.C.
            (See instruction #3a on reverse side.)                                                                                                § 507(a)(7).
4.    Secured Claim (See instruction #4 on reverse side.)                                                                                          Taxes or penalties owed to governmental
      Check the appropriate box if your claim is secured by a lien on property or a right of setoff and provide the requested                     units - 11 U.S.C. § 507(a)(8).
      information.                                                                                                                                 Other – Specify applicable paragraph of 11
      Nature of property or right of setoff:  Real Estate           Motor Vehicle            Other                                             U.S.C. § 507(a)(_____).
      Describe: ________________________________________________
      Value of Property: $__________________________ Annual Interest Rate _______%                                                                     Amount entitled to priority:
      Amount of arrearage and other charges as of time case filed included in secured claim, if any:
      $___________________________ Basis for perfection: _________________________________                                                             $_________________

      Amount of Secured Claim: $__________________ Amount Unsecured: $__________________
6.     Amount of Claim that qualifies as an Administrative Expense under 11 U.S.C. §503(b)(9): $______________
       (See instruction #6 on reverse side.)
7. Credits: The amount of all payments on this claim has been credited for the purpose of making this proof of claim.                                        FOR COURT USE ONLY
8. Documents: Attach redacted copies of any documents that support the claim, such as promissory notes, purchase
orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages and security agreements.
Attach redacted copies of documents providing evidence of perfection of a security interest. (See definition of “redacted”
on reverse side.) If the documents are voluminous, attach a summary.
DO NOT SEND ORIGINAL DOCUMENTS. ATTACHED DOCUMENTS MAY BE DESTROYED AFTER
SCANNING.
If the documents are not available, please explain:

Date:                    Signature: The person filing this claim must sign it. Sign and print name and title, if any, of the creditor or other
                         person authorized to file this claim and state address and telephone number if different from the notice address
                         above. Attach copy of power of attorney, if any.



                      Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.
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                                                                INSTRUCTIONS FOR
                                                                               PgPROOF  OF CLAIM FORM
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 The instructions and definitions below are general explanations of the law. In certain circumstances, such as bankruptcy cases not filed voluntarily by the debtor, there may
                                                                     be exceptions to these general rules.
                                                              Items to be completed in Proof of Claim form
Name of Debtor, and Case Number:                                                                                    4. Secured Claim:
Fill in the name of the Debtor in the bankruptcy case, and the bankruptcy case number.                              Check the appropriate box and provide the requested information if the claim is
 08-13555 Lehman Brothers Holdings Inc.              08-13905 CES Aviation LLC                                      fully or partially secured. Skip this section if the claim is entirely unsecured. (See
 08-13600 LB 745 LLC                                 08-13906 CES Aviation V LLC                                    DEFINITIONS, below.) State the type and the value of property that secures the
 08-13885 Lehman Brothers Commodity Services 08-13907 CES Aviation IX LLC                                           claim, attach copies of lien documentation, and state annual interest rate and the
              Inc.                                                                                                  amount past due on the claim as of the date of the bankruptcy filing.
 08-13888 Lehman Brothers Special Financing          08-13908 East Dover Limited
              Inc.                                                                                                  5. Amount of Claim Entitled to Priority Under 11 U.S.C. §507(a).
 08-13893 Lehman Brothers OTC Derivatives            09-10108 Luxembourg Residential                                If any portion of your claim falls in one or more of the listed categories, check
              Inc.                                               Properties Loan Finance S.a.r.l.                   the appropriate box(es) and state the amount entitled to priority. (See
 08-13899 Lehman Brothers Derivative Products 09-10137 BNC Mortgage LLC                                             DEFINITIONS, below.) A claim may be partly priority and partly non-priority.
              Inc.                                                                                                  For example, in some of the categories, the law limits the amount entitled to
 08-13900 Lehman Commercial Paper Inc.               09-10558 Structured Asset Securities                           priority.
                                                                 Corporation                                        6. Amount of Claim that qualifies as an Administrative Expense under 11
 08-13901 Lehman Brothers Commercial                 09-10560 LB Rose Ranch LLC                                     U.S.C. §503(b)(9)
              Corporation                                                                                           State the value of any goods received by the debtor within 20 days before the
 08-13902 Lehman Brothers Financial Products 09-12516 LB 2080 Kalakaua Owners LLC                                   date of commencement in which the goods have been sold to the debtor in the
              Inc.                                                                                                  ordinary course of the debtor’s business.
 08-13904 Lehman Scottish Finance L.P.               08-13664 PAMI Statler Arms LLC                                 7. Credits:
If your Claim is against multiple Debtors, complete a separate form for each Debtor.                                An authorized signature on this proof of claim serves as an acknowledgment that
Creditor’s Name and Address:                                                                                        when calculating the amount of the claim, the creditor gave the debtor credit for
Fill in the name of the person or entity asserting a claim and the name and address of the person who               any payments received toward the debt.
should receive notices issued during the bankruptcy case. A separate space is provided for the                      8. Documents:
payment address if it differs from the notice address. The creditor has a continuing obligation to keep             Attach to this proof of claim form redacted copies documenting the existence of
the court informed of its current address. See Federal Rule of Bankruptcy Procedure (FRBP)                          the debt and of any lien securing the debt. You may also attach a summary. You
2002(g).                                                                                                            must also attach copies of documents that evidence perfection of any security
1. Amount of Claim as of Date Case Filed:                                                                           interest. You may also attach a summary. FRBP 3001(c) and (d). Do not send
State the total amount owed to the creditor on the date of the Bankruptcy filing. Follow the                        original documents, as attachments may be destroyed after scanning.
instructions concerning whether to complete items 4, 5 and 6. Check the box if interest or other                    Date and Signature:
charges are included in the claim.                                                                                  The person filing this proof of claim must sign and date it. FRBP 9011. If the
2. Basis for Claim:                                                                                                 claim is filed electronically, FRBP 5005(a)(2), authorizes courts to establish local
State the type of debt or how it was incurred. Examples include goods sold, money loaned, services                  rules specifying what constitutes a signature. Print the name and title, if any, of
performed, personal injury/wrongful death, car loan, mortgage note, and credit card.                                the creditor or other person authorized to file this claim. State the filer’s address
3. Last Four Digits of Any Number by Which Creditor Identifies Debtor:                                              and telephone number if it differs from the address given on the top of the form
State only the last four digits of the debtor’s account or other number used by the creditor to identify            for purposes of receiving notices. Attach a complete copy of any power of
the debtor.                                                                                                         attorney. Criminal penalties apply for making a false statement on a proof of
                                                                                                                    claim.
      3a. Debtor May Have Scheduled Account As:
      Use this space to report a change in the creditor’s name, a transferred claim, or any other
      information that clarifies a difference between this proof of claim and the claim as scheduled
      by the debtor.
                                         _________D E F I N I T I O N S _________                                                              _________I N F O R M A T I O N _________
Debtor                                                                Claim Entitled to Priority Under 11 U.S.C. §507(a)                  Acknowledgment of Filing of Claim
A debtor is the person, corporation, or other entity that has filed   Priority claims are certain categories of unsecured Claims that     To receive acknowledgment of your filing, you
a bankruptcy case.                                                    are paid from the available money or property in a bankruptcy       may either enclose a stamped self-addressed
Creditor                                                              case before other unsecured claims.                                 envelope and a copy of this proof of claim, or you
A creditor is the person, corporation, or other entity owed a         Redacted                                                            may access the Claims Agent's system (http://www.lehman-
debt by the debtor on the date of the bankruptcy                      A document has been redacted when the person filing it has          docket.com) to view
filing.                                                               masked, edited out, or otherwise deleted, certain information.      your filed proof of claim.
Claim                                                                 A creditor should redact and use only the last four digits of any   Offers to Purchase a Claim
A claim is the creditor’s right to receive payment on a debt that     social-security, individual’s tax identification, or financial-     Certain entities are in the business of purchasing claims for
was owed by the debtor on the date of the bankruptcy filing.          account number, all but the                                         an amount less than the face value of the claims. One or
See 11 U.S.C. §101 (5). A claim may be secured or unsecured.          initials of a minor’s name and only the year of any person’s        more of these entities may contact the creditor and offer to
Proof of Claim                                                        date of birth.
                                                                                                                                          purchase the claim. Some of the written communications
A proof of claim is a form used by the creditor to indicate the       Evidence of Perfection                                              from these entities may easily be confused with official
amount of the debt owed by the debtor on the date of the              Evidence of perfection may include a mortgage, lien, certificate    court documentation or communications from the debtor.
bankruptcy filing. The creditor must file the form with the           of title, financing statement, or other document showing that       These entities do not represent the bankruptcy court or the
Claims Agent at the following address:                                the lien has been filed or recorded.                                debtor. The creditor has no obligation to sell its claim.
Lehman Brothers Holdings Claims Processing                            Derivative Contract                                                 However, if the creditor decides to sell its claim, any
c/o Epiq Bankruptcy Solutions, LLC                                    A contract that is any of (i) a “swap agreement” as such term is    transfer of such claim is subject to FRBP 3001(e), any
FDR Station, PO Box 5076                                              defined in section 101(53B) of the Bankruptcy Code or (ii) a
New York, NY 10150- 5076                                                                                                                  applicable provisions of the Bankruptcy Code (11 U.S.C. §
                                                                      “forward contract” as such term is defined in section 101(25)       101 et seq.), and any applicable orders of the bankruptcy
Secured Claim Under 11 U.S.C. §506(a)                                 of the Bankruptcy Code. A cash-market purchase or sale of a         court.
A secured claim is one backed by a lien on property of the            security or loan (i.e. any purchase or sale of a security or loan
debtor. The claim is secured so long as the creditor has the          for settlement within the standard settlement cycle for the
right to be paid from the property prior to other creditors. The      relevant market), exchange-traded future or option, securities
amount of the secured claim cannot exceed the value of the            loan transaction, repurchase agreement in respect of securities
property. Any amount owed to the creditor in excess of the            or loans, and any guarantee or reimbursement obligations
value of the property is an unsecured claim. Examples of liens        which would otherwise be included in the definition of such
on property include a mortgage on real estate or a security           terms in the Bankruptcy Code shall not be considered a
interest in a car. A lien may be voluntarily granted by a debtor      Derivative Contract for the purposes of this definition nor shall
or may be obtained through a court proceeding. In some states,        any notes, bonds, or other securities issued by the Debtors or
a court judgment is a lien. A claim also may be secured if the        their affiliates (including, but not limited to, Lehman Brothers
creditor owes the debtor money (has a right to setoff).               Holdings Inc., Lehman Brothers Treasury Co. B.V., Lehman
                                                                      Brothers Bankhaus AG, Lehman Brothers Holdings plc,
Unsecured Claim                                                       Lehman Brothers Securities N.V., and Lehman Brothers
An unsecured claim is one that does not meet the requirements         (Luxembourg) Equity Finance S.A.).
of a secured claim. A claim may be partly unsecured if the            Guarantee
amount of the claim exceeds the value of the property on which        A promise, representation or agreement to answer for the
the creditor has a lien.                                              payment of some debt or the performance of some duty in case
                                                                      of the failure of another person or entity who is liable in the
                                                                      first instance.
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                                                      Exhibit C

                                               Derivative Questionnaire

    Please note that information stated on or uploaded on this website is being submitted as part of
    the Proof of Claim form. As such, criminal penalties apply for making a false statement. The
    penalty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5
    years, or both. 18 U.S.C. §§ 152 and 3571.

    YOU MUST COMPLETE ONE DERIVATIVE QUESTIONNAIRE PER PROOF OF CLAIM BASED ON
    AMOUNTS OWED PURSUANT TO A MASTER AGREEMENT. IF A MASTER AGREEMENT DOES NOT
    EXIST, YOU MUST COMPLETE ONE DERIVATIVE QUESTIONNAIRE PER DERIVATIVE CONTRACT.


    General:_________________________________________________________________
    Name of Debtor (drop down of Lehman entities):

    Name of Creditor:

    Name and address where notices should be sent:

    Creditor contact person and phone number:

    Name and address where payment should be sent if different from above:
    ________________________________________________________________________

    1. Is the Debtor identified above (i) a counterparty to the derivative contract or (ii) a
    guarantor or credit support provider? Please identify the counterparties,
    guarantors and/or credit support providers to the derivative contract.



    2. Have Termination Agreement(s) related to the allowance of a claim in respect of
    derivatives been entered into with the debtor?


    If Yes---Enter the amount of the derivative claim $_______

    Please attach Termination Agreement and go to ___(end).

    If No, proceed to #3.

    3. Have the derivatives matured or been terminated?

    If Yes--Enter the derivative claim amount and each line item included in the calculation
    thereof on the provided table and provide the information in 4.



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    If No, STOP HERE. For Derivative Contracts that have not matured or been terminated,
    you do not need to complete the rest of the Derivative Questionnaire or submit any of the
    documents or information requested below.

    4. a. Documentation of Transactions. Please provide copies of all master agreements and
    schedules thereto, netting agreements, credit support agreements, guarantees and other
    agreements (other than confirmations) evidencing the transactions, in each case that relate
    to the claim.

    b. Termination Notice. Please provide a copy of the termination notice, including
    evidence supporting delivery date of the termination notice.

    c. Valuation Statement. Please provide a copy of the valuation statement. Please identify
    any collateral that has been posted by any party in connection with the transactions and
    any claims of set-off against other transactions reflected in the claim.

    d. Individual Trade Level Detail. Please provide with respect to each transaction (i) the
    valuation date (to the extent not included in your valuation statement) and value and (ii)
    details for the purpose of identifying and reconciling each transaction (e.g. including, as
    applicable, trade id, electronic trade reference id, trade type, product, trade date, reference
    obligation or reference entity, factor and original contract notional amount, quantity/unit
    of measure, currency, price or strike price, buy/sell, call or put, cap or floor, effective
    date, and maturity date. (For the avoidance of doubt, you are not required to submit each
    and every one of the foregoing)). Please provide this information in Microsoft Excel
    format.

    e. Trade Valuation Methodology and Quotations. Please check the box next to each
    valuation methodology used to support the claim (if multiple methodologies were used,
    please check multiple boxes and identify the trade population listed in clause d. above to
    which each valuation method applies):

    ____ ISDA Master Agreements Specifying Market Quotation Methodology: If not
    already provided in the valuation statement, provide the date and identity of and
    quotations received from Reference Market-makers or other persons (i.e. name of
    institution) concerning the transactions.

    ____ ISDA Master Agreements Specifying Loss Methodology. To the extent applicable,
    if not already provided in the valuation statement, provide the date and identity of and
    quotations received from Reference Market-makers or other persons (i.e. name of
    institution) concerning the transactions.

    ____ ISDA Master Agreements Specifying Close-Out Amount Methodology. To the
    extent applicable, if not already provided in the valuation statement, provide the date and
    identity of and quotations received from Reference Market-makers or other persons (i.e.
    name of institution) concerning the transactions.


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    ____ ISDA Master Agreements Specifying Any Other Methodology. To the extent
    applicable, if not already provided in the valuation statement, provide the date and
    identity of and quotations received from Reference Market-makers or other persons (i.e.
    name of institution) concerning the transactions.

    ____ Non-ISDA Master Agreements. To the extent applicable, if not already provided in
    the valuation statement, provide the date and identity of and quotations received from
    Reference Market-makers or other persons (i.e. name of institution) concerning the
    transactions.

    ____ Replacement Transactions: If you replaced a terminated transaction with a
    transaction with the same economic terms as the terminated transaction, provide
    documentation evidencing such replacement transaction and the quotation(s) used,
    including specifying any cash (or other consideration) paid or received by or to any
    person to replace the transactions, the name of each entity that effectuated a replacement
    and when any such transactions were effected.

    f. Unpaid Amounts. Please specify any unpaid amounts and interest accrued thereon
    included in calculation of any amounts due with respect to the transactions.

    g. Collateral. Please provide CUSIP/ISIN for collateral listed, if applicable, or other
    information that reasonably identifies collateral reflected in the claim calculation and the
    valuation of such collateral. Please provide this information in Microsoft Excel format.

    h. Other costs.
                        i.     If claim includes other costs, please include a schedule that lists
                        each such cost by vendor and indicates the service provided and amount
                        paid.

                        ii.      If claim includes interest charges, please provide calculation in
                        Microsoft Excel format of interest including principal amount, interest
                        rate, term and assumptions.




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                                                      Exhibit D

                                               Guarantee Questionnaire

    Please note that information stated on or uploaded on this website is being submitted as part of
    the Proof of Claim form. As such, criminal penalties apply for making a false statement. The
    penalty for presenting fraudulent claim is a fine of up to $500,000 or imprisonment for up to 5
    years, or both. 18 U.S.C. §§ 152 and 3571.

    General:_________________________________________________________________
    Name of Creditor:

    Name and address where notices should be sent:

    Creditor contact person and phone number:

    Name and address where payment should be sent if different from above:
    ________________________________________________________________________

    1. Name of Debtor, or other entity, against which you have a direct claim (the “Obligor”):

    2. If such Obligor is in a bankruptcy or insolvency proceeding, administration,
    receivership, conservatorship, liquidation or similar proceeding (and is not a Debtor in
    these chapter 11 cases), please provide the proof of claim and any attachments thereto
    filed against such Obligor or describe the claim against such Obligor if a proof of claim
    has not yet been filed.

    3. List the agreement(s) under which your claim arises against the Obligor and, unless
    you have uploaded information in compliance with question 4a of the Derivative
    Questionnaire, provide documentation evidencing your claim and supporting the
    calculation of the claim amount.*

    4. Amount of claim against Obligor: $_______________.

    5. Name of Debtor that guarantees the payment/obligations of the Obligor against which
    you have a direct claim (the “Guarantor”):

    6. Please upload the specific promise, representation and/or agreement(s) (including any
    corporate resolutions) under which your claim arises against the Guarantor and describe
    the obligations/performance that is guaranteed. If you do not have possession of such
    document, please upload a written explanation of such guarantee in reasonable detail.
    You do not need to comply with this question if you have uploaded information in
    compliance with question 4a of the Derivative Questionnaire.

    7. Amount of claim against the Guarantor: $_____________.



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    * Pursuant to Federal Rule of Bankruptcy Procedure 3001(c), if your claim is based on a
    written agreement, you are required to attach a copy of the writing evidencing such
    agreement.




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